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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




  UNITED STATES OF AMERICA, et al.,

                          Plaintiffs,
                                                    Case No. 1:20-cv-03010-APM
  v.
                                                    HON. AMIT P. MEHTA
  GOOGLE LLC,

                          Defendant.


  STATE OF COLORADO, et al.,

                          Plaintiffs,
                                                    Case No. 1:20-cv-03715-APM
  v.
                                                    HON. AMIT P. MEHTA
  GOOGLE LLC,

                          Defendant.


                MOTION FOR LEAVE TO FILE AMICUS CURIAE BRIEF



        Proposed amicus curiae News/Media Alliance (“N/MA”) respectfully requests the Court

grant it leave to file the accompanying amicus curiae brief in support of no party. Pursuant to

Local Civil Rules 7(m) and (o), N/MA contacted counsel for both Plaintiffs and Defendants

regarding the filing of this Motion. Plaintiffs do not oppose this filing, and Defendants stated no

position with regard to this filing. A proposed order accompanies this Motion.

        In support of this Motion, N/MA states the following:
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 I.      Legal Standard

             An amicus curiae “participates only for the benefit of the Court” and it is “solely within

      the discretion of the Court to determine the fact, extent, and manner of participation by the

      amicus.” United States v. Microsoft Corp., 2002 WL 319366, at *2 (D.D.C. Feb. 28, 2002).

      Courts typically permit amicus curiae briefs from parties with “a special interest in th[e]

      litigation as well as a familiarity and knowledge of the issues raised therein that could aid in the

      resolution of th[e] case.” Ellsworth Assocs., Inc. v. United States, 917 F. Supp. 841, 846 (D.D.C.

      1996). This is especially true “when the amicus has unique information or perspective that can

      help the court.” Cobell v. Norton, 246 F. Supp. 2d 59, 62 (D.D.C. 2003) (citing Ryan v.

      Commodity Futures Trading Comm'n, 125 F.3d 1062, 1063 (7th Cir.1997)).


II.      N/MA’s Position is Not Adequately Represented by the Parties

             N/MA is a nonprofit trade association headquartered in the Washington, D.C. area that

      represents over 2,200 news, magazine, and digital media publishers in the United States and

      globally. N/MA has a direct and compelling interest in the remedy being crafted by the Court

      because digital publishers are often the source of the information delivered on the search engine

      results pages (“SERP”) in response to users’ search queries. Digital publishers, like those

      represented by N/MA, allow Google (and other GSEs) to crawl their websites to develop its

      search indexes (used to provide search results) in exchange for search referral traffic. Google

      (and other GSEs) also use digital publisher content to ground their generative AI models and

      generate summary responses to user queries. Any remedy that addresses Google’s conduct with

      regard to search indexing, SERP display and results, or other use of publishers’ digital content,

      including grounding its generative AI models, will have a great impact on N/MA’s members.
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III.      N/MA’s Brief is Relevant to the Disposition of this Case

              As a trade association representing thousands of digital publishers, N/MA is uniquely

       situated to provide the Court with relevant insight into the impact of potential remedies on the

       interaction between Google and the publisher websites it relies upon to build its SERP. Most

       importantly, N/MA’s members are responsible for much of the news, current events, and

       reference information that is utilized by Google and other GSEs to ground their generative AI

       models to provide summary responses to user queries directly on the SERP. The Court has

       recognized that “AI technologies have the potential to transform search” and represent “the

       clearest example of competition advancing search quality.” United States v. Google LLC, 1:20-

       cv-03010-APM, Dkt. 1033 at 40-41 (D.D.C. 2024). N/MA’s position, detailed in the

       accompanied amicus curiae brief, is that any remedy allowing publishers to selectively opt out of

       Google using their content must provide publishers with the ability to selectively opt out of

       allowing Google to use their content to ground its generative AI search results. This provision

       will ensure that the use of generative AI in search will in fact advance competition in search

       quality and prevent Google from maintaining its unlawfully acquired monopoly power to force

       publishers to provide content for both Google’s search index and generative AI tools together.


IV.       Conclusion

              Amicus N/MA respectfully requests that the Court grant this Motion and accept the

       accompanying amicus curiae brief.
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Dated: May 9, 2025                 Respectfully Submitted,


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                                CERTIFICATE OF SERVICE


       I hereby certify that I electronically filed the foregoing Motion for Leave to File Amicus

Curiae Brief with the Clerk of the U.S. District Court for the District of Columbia by using the

CM/ECF system on May 9, 2025.

       I certify that all participants in the case are registered CM/ECF users, and that service

will be accomplished by the CM/ECF system.


Dated: May 9, 2025                            Respectfully Submitted,


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